                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


DENALI STATE BANK,                      )
                                        )
                             Plaintiff, )
                                        )
      vs.                               )
                                        )
HARBORTOUCH PAYMENTS, LLC,              )
                                        )                    No. 4:16-cv-0035-HRH
                            Defendant. )
_______________________________________)


                                         ORDER

                                       Case Dismissed

       Based upon the stipulation of the parties1 to dismiss all claims asserted in this
action, and the court being fully advised in the premises;

       IT IS HEREBY ORDERED that, pursuant to the parties’ stipulation, all claims and

counterclaims asserted in this action are dismissed with prejudice, in their entirety, the
parties to bear their respective costs and attorney fees.
       DATED at Anchorage, Alaska, this 2nd day of April, 2019.



                                                   /s/ H. Russel Holland
                                                   United States District Judge




       1
        Docket No. 30.

Order – Case Dismissed                                                                     -1-

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